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UNITED ST
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

Yi “
Case No. CIV 94 soa _/

CARL WILSON, an individual,
and AUDREE WILSON, an

 

individual, ) FIRST AMENDED COMPLAINT FOR
) LIBEL
Plaintiffs, )
) JURY TRIAL DEMANDED
Vv. )
)
HARPERCOLLINS PUBLISHERS, )
INC., a Delaware corporation, )
)
Defendant. )
)
ii COME NOW PLAINTIFFS CARL WILSON AND AUDREE WILSON who allege
as follows:
FACTS COMMON TO ALL ALLEGATIONS
1. Plaintiff Carl Wilson ("Carl") is and, at all times
herein mentioned, was an individual residing in the State of
Colorado.
2. Plaintiff Audree Wilson ("Audree") is and, at all times

herein mentioned, was an individual residing in the County of Los

Angeles, State of California.

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1 3. Plaintiffs are informed and believe and thereupon
allege that defendant Harpercollins Publishers, Inc,
("HarperCollins") is a corporation duly organized and existing
under the laws of the State of Delaware with principal business

offices in New York City.

in part, in the State of New Mexico, and plaintiffs sustained

injury in said state as a consequence of said tortious acts.

 

 

 

 

 

 

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8 4. The tortious acts complained of herein were committed,
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5. The jurisdiction of this Court is invoked pursuant to
10 28 U.S.C. 1332(a) which confers the subject matter jurisdiction

I. the United States District Court in all cases in which there
j2}} is a diversity of citizenship and the amount in controversy

13 || exceeds the sum of $50,000, excluding interest and costs.

14 6. Venue is proper pursuant to 28 U.S.C. section 1391 (a)
and (c).
iS 7. Within three (3) years of the filing of this Complaint,

17 |} defendant HarperCollins caused to be written, printed, published

 

18 | and disseminated to the general public, including the public

 

19} throughout the State of New Mexico, a book entitled Wouldn't It

20 || Be Nice (the "Book").
21 &. The Book was purportedly written by Brian Wilson with

 

 

 

 

 

22} Todd Gold. However, Plaintiffs are informed and believe and

| 23 {| thereupon allege that Eugene Landy ("Landy"), with the knowledge
24} and consent of HarperCollins, collaborated extensively in the
25 || authorship and editing of the Book, and in doing so, altered text
26} and manipulated sources in a manner which impaired the accuracy
27 || of the Book, defamed Plaintiffs, and misused and misrepresented

2g the credibility, if any, that the purported authorship by Brian

 

 

 

 

 

 

 

 

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Wilson lends to the Book. The actual malice and negligence of
Defendant HarperCollins, as alleged below, in publishing the
defanalucy statements set rorth below, are shown, in part, by the
fact that HarperCollins knew or had reason to know that Landy was

acting as previously alleged, and that Brian Wilson was the

| subject of a conservatorship action instituted to free him from

the detrimental physical and psychological control of Landy,
having been specifically put on notice of such by Plaintiffs, in
written and oral communications from Plaintiffs’ attorneys.
Further, HarperCollins knew or had reason to know that Landy
collaborated in the authorship of the Book in the manner
described above. HarperCollins published the Book in reckless

disregard of the aforementioned, and thus, in reckless disregard

/of the truth of the Book and the alleged defamatory statements.

Further, the Book contains accounts that Brian Wilson repeatedly
suffered from severe delusions resulting from schizophrenia and
drug abuse. These accounts, in and of themselves, gave
HarperColline reason to doubt Brian Wilson's ability to
accurately remember the events and conversations set forth in the
Book. HarperCollins published the Book in reckless disregard of
the aforementioned, and thus, in reckless disregard of the truth
or falsity of the Book, and the alleged defamatory statements.
Plaintiffs are informed and believe and thereupon allege that
HarperCollins knew or should have known that publication of a
book containing defamatory allegations about Plaintiffs generated
by Landy would be especially damaging to Plaintiffs because the

Book was ostensibly authored by Brian Wilson, and not by Landy.

 

 

 
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FIRST CLAIM FOR RELIEF
(Libel)
9. Plaintiff Audree Wilson hereby repeats and realleges
| varagrapns 1 through 8 hereinabove and incorporate said
| paragraphs herein by reference as though set forth at length.
10. The Book contained the following statements of and
concerning Audree that are false and defamatory:
"I suppose my mother drank to ease her pain;"
Book, p. 17.
"My mom had been drinking. She looked
helpless and frightened, more frightened than
I was."
Book, p. 18.
"My mother was no help. She almost never
opposed my father, almost never rose up and
defended her children. . . . Who knows? She
might've been abused herself. I often saw
her pour a drink in the afternoon and
i] continue sipping throughout the evening. She
was passive and aloof by the time my dad came
home, a bystander who refused to intercede in
the flagrant child abuse going on in front of
her."
Book, p. 27.
"She once looked on as he tied me to a tree
for punishment. Another time, while the rest
I of the family was eating dinner, my dad

barged into my room and caught me

 

 

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masturbating. . . . Not hiding his disgust,
he shouted to my mom 'the boy's not to have
dinner for two nights.' My mom complied.
She sipped nervously and anxiously at her gin
and tonic."

Book, p. 27.
"(My father] stalked off, irate, muttering
threats under his breath, and continuing his
tirade in another room. My mother listened
passively, as always, refusing to take either
side in the matter."

Book, p. 48.

11. These and other statements in the Book are defamatory
per se in that they falsely portray Audree as an alcoholic, an
unfit mother and as an individual so emotionally demoralized that
she was incapable of defending herself or her children against
severe abuse. Said statements expose Audree to contempt,
ridicule and obloquy, and have a tendency to injure her in her
vocation.

12. At the time defendant made said statements, it knew
that said statements would expose Audree to contempt, ridicule
and obloquy, and would have a tendency to injure her in her
vocation.

13. Plaintiff Audree Wilson is informed and believes and
thereupon alleges that defendant made the defamatory statements
alleged hereinabove with actual malice (also known as

constitutional malice), in that said defamatory statements were

28 || made with knowledge that they were false or with reckless

 

 

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disregard for their truth or falsity. Said plaintiff further
alleges that defendant knew that it had no reasonable basis in
fact to publish said statements and that it had no reliable and
unbiased information with which to support said statements, in
part, for the reasons set forth in paragraph 8 above. Plaintiff
further alleges that defendant failed to properly determine the
truth or falsity of said statements prior to publication.

14. Plaintiff Audree Wilson is informed and believes and
thereupon alleges that defendant was negligent in publishing the
defamatory statements alleged hereinabove, in that said
statements were published without the exercise of ordinary and
reasonable care as to the truth or falsity of the statements.

15. Defendant caused the Book to be distributed throughout

| tne United States. The Book was widely sold in the State of New

Mexico. Accordingly, the above-enumerated defamatory statements

“ seen and read by persons who reside in the State of New

Mexico. Defendant knew, or should have known, that said

defamatory statements would be read by individuals who reside in

| said state and elsewhere.

16. As a direct and proximate result of the publication of
said defamatory statements, Audree has suffered actual injury to
her reputation and standing in the community, and further, she
has suffered shame, mortification, personal humiliation, mental
anguish and suffering and emotional distress, all to her general
damage in the amount of Five Million Dollars ($5,000,000).

17. Defendant's conduct was intentional and was done

maliciously, with ill will towards Audree and in conscious

 

 

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disregard for her rights. As a result, Audree is entitled to

punitive damages in an amount to be proven at trial.

SECOND CLAIM FOR RELIEF
(For Libel)

18. Plaintiff Carl Wilson hereby repeats and realleges
paragraphs 1 through 8 hereinabove and incorporates said
paragraphs herein by reference as though set forth at length.

19. The Book contained the following false and defamatory
statements of and concerning Carl:

"One night, Dennis, Carl, and I were
drunkenly walking through the redlight
district in Amsterdam, heading for a
restaurant while Dennis tried talking me into
sampling one of the local girls." .. . "The
piano bench was knocked over, punches were
exchanged and before I knew it Carl and
Dennis were dragging me out the front door
and hustling me back to the hotel." .. .
"After downing a few, Dennis, Carl, and Mike

hit the dancefloor."

"Dennis smuggled heroin into New Zealand

. . . Carl, trying to calm the turbulence by
admitting his involvement in the purchase of
the heroin, ended up getting punched in the

face by Rocky."

Book, p. 252.

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Book, pp.

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"Within a week Carl was in Dr. Landy's
office, asking how much the treatment would
cost." . . . "Dr. Landy explained himself
clearly, knowing Carl was going to take the
information he got from the meeting and tell
Marilyn, who had helped him through the
dissolution of his marriage and now was
providing him comfort in dealing with me."

. . . "Carl never liked Dr. Landy's bluntness
and was scared of him." .. . "Carl and Al
complained Dr. Landy's fees were outrageous."
. . . "Predictably, the first thing they
wanted to discuss wasn't my health, it was
Dr. Landy's fee."

273-275.

", . . Several weeks before Christmas 1983,
Carl and his manager, Jerry Schilling,
approached Dr. Landy about treating Dennis."
- - . "The next day, Schilling called Landy
and told him Carl needed longer to make up
his mind. The price was steep, too steep, he
thought for the Beachboys to carry." "Beyond
that, Carl didn't want to upset his family's
holiday plans by having, as Dr. Landy
suggested, an intervention in Lake Arrowhead.
Carl suggested talking after the holidays."

. . . “Carl was adamant, though; he didn't

want to deal with the problem until after New

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Book, pp.

Book, p.

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Book, p.

 

 

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Year."

311-312.

"Carl didn't know what to do. Before making
any decisions, he insisted on consulting with
John Rogers, a cult leader Carl referred to
as his spiritual master."
314.

"In early 1986, Carl threw his weight into
the war against Dr. Landy." .. . "But the
Beachboys loathed the independence Dr. Landy
was giving me. They hated that I was
beginning to be able to say no to them and
act on my own thoughts. They resented that I
wrote songs, not with Dr. Landy, but without
them. ...

"The struggle escalated when Carl began
withholding my paychecks and money. That
authority was his through the Brian Wilson
Trust of 1982, which he had me sign prior to
Dr. Landy's beginning treatment again..."
332.

"In Carl's opinion, the trust was supposed to
protect me from Dr. Landy, but as I got
saner, I began questioning my brother. I
couldn't remember signing the document in the
first place. I was too incompetent at the
time to know what I was signing."

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Book, p.

 

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"Filed by the Attorney General's office, the
BMQA's charges originated with a complaint
filed by Carolyn Williams in 1984. They were
then fueled by the journal Gary Usher
compiled while we wrote songs together the
previous year and pressed by Marilyn and
Carl."
351.

"As soon as the Beachboys returned to L.A.,
he [Carl] had me sign a trust document,
giving him control of both my money and my
vote in the Beachboys' corporation, Brother
Records, Inc. I didn't know what I was
signing, though he assured me it was for my

own protection."

| Book, p. 268.

"For the first hour or so, Mike, Al, and Carl

avoided me like the plague.

"Then I decided to take action. I found Carl
in his dressing room and asked if he wanted

to talk about what was going on.

'I can't, Brian,' he said. ‘I've got to take
care of some business I've got going in
Colorado.' . .. It was clear they were

shutting me out."

| Book, p. 371.

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"My brother Carl, on the other hand, stayed
in his room and drank."

Book, p. 376.
", . . I was performing on my own, making my
own decisions, even venturing out to art
museums and restaurants while Carl was holed
up in his room, avoiding the outside world,
still drinking heavily, blind to his own
problems." . . . "But then Carl had trouble
making even the simplest decisions. He had
always needed to consult with numerous people
-- his wife, lawyers, his spiritual master,
John Rogers."

Book, p. 378.
"Carl never once tried to talk to me
personally. He showed absolutely no
sensitivity that I was being stripped of my
dignity and rights as a human being."

Book, p. 387.

20. These and other statements in the Book are defamatory
per se in that, inter alia, they falsely portray Carl as an
abuser of alcohol; falsely impute to him involvement in the
purchase of illegal narcotics; falsely characterize him as an
emotionally troubled, weak individual who could be easily
intimidated and/or controlled by his wife, John Rogers, Landy,
and others; falsely suggest that he was callous and unconcerned
about his brother Brian's physical and emotional health and was

willing to risk Brian's life to save money; falsely state that he

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wrongfully withheld money that was payable to Brian; and falsely
state that he obtained control over Brian's funds and Brian's
position within the Beachboys' corporation by trick and for
improper purposes. Said statements expose Carl to contempt,
ridicule and obloquy, and have a tendency to injure him in his
reputation.

21. At the time defendant made said statements, it knew
that said statements would expose Carl to contempt, ridicule and
obloquy, and would have a tendency to injure him in his
occupation.

22. Plaintiff Carl Wilson is informed and believes and
thereupon alleges that defendant published the defamatory
statements alleged hereinabove with actual malice (also known as
constitutional malice), in that said statements were published
with knowledge that they were false or with reckless disregard
for their truth or falsity. Said plaintiff further alleges that
defendant knew that it had no reasonable basis in fact to publish
said statements and that it had no reliable and unbiased
information with which to support said statements, in part, for
the reasons set forth in paragraph 8, above. Said plaintiff
further alleges that defendant failed to properly determine the
truth or falsity of said statements prior to publication.

23. Plaintiff Carl Wilson is informed and believes and
thereupon alleges that defendant was negligent in publishing the
defamatory statements alleged hereinabove, in that said
statements were published without the exercise or ordinary and

reasonable care as to the truth or falsity of the statements.

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24. Defendant caused the Book to be distributed throughout
the United States. The Book was widely sold in the State of New
Mexico. Accordingly, the above-enumerated defamatory statements
were seen and read by persons who reside in the State of New
Mexico. Defendant knew, or should have known, that said
defamatory statements would be read by individuals who reside in
said state and elsewhere.

25. As a direct and proximate result of the publication of
said defamatory statements, Carl has suffered actual injury to
his reputation and standing in the community, and further, he has
suffered shame, mortification, personal humiliation, mental
anguish and suffering and emotional distress, all to his general
damage in the amount of Five Million Dollars ($5,000,000).

26. As a further direct and proximate result of the
publication of said defamatory statements, Carl has suffered
special damages in that the public's erroneous belief in the
truth of the defamatory statements contained in the Book has
caused the public to lose interest in The Beachboys, the
professional music group in which Carl performs. As a result of
the public's loss of interest, there has been a decline in
revenue derived from the group's live performances and record
sales, which has resulted in a loss of business profits and a
loss of salary to Carl. The precise amount of Carl's special
damages cannot be ascertained with certainty at this time, but is
in excess of Fifty Thousand Dollars ($50,000). Carl will seek
leave to amend this Complaint to allege that amount once it has

been ascertained.

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27. Defendant's conduct was intentional and was done
maliciously, with ill will towards Carl and in conscious
disregard for his rights. As a result, Carl is entitled to

punitive damages in an amount to be proven at trial.

THIRD CLAIM FOR RELIEF
(For Libel)

28. Plaintiff Carl Wilson hereby repeats and realleges
paragraphs 1-8 and 19-27 hereinabove and incorporate said
paragraphs herein by reference as though set forth at length.

29. Carl is, and at all material times was, a member of the
popular musical group professionally known as "The Beachboys."

30. The Book contains numerous false and defamatory
statements of and concerning The Beachboys, including statements
to the effect that The Beachboys deliberately exploited Carl's
brother and fellow band member, Brian Wilson, in order to earn
more money for themselves. The Book suggests that, in
furtherance of that purpose, The Beachboys coerced Brian to write
songs and produce records even though the group knew that doing
so would damage Brian Wilson's mental health. The Book also
falsely suggests that The Beachboys' efforts to obtain and
finance psychological/psychiatric treatment for Brian Wilson were
motivated by the group's desire to secure a lucrative record
deal. The Book falsely alleges that, once that deal was signed,
The Beachboys had no further regard for Brian Wilson's mental and
physical health. In this vein, the Book falsely states that The
Beachboys "almost killed" Brian Wilson by requiring him to work

on songs and albums when he was not healthy enough to do so;

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that, at one point, The Beachboys opposed Wilson's therapy
because it was interfering with the group's ability to coerce
Brian Wilson to make records with them; that The Beachboys
created a "Brian is back" publicity campaign in 1976 without
Brian Wilson's consent or approval, which campaign attempted to
capitalize on Brian Wilson's illness for pecuniary gain; and that
The Beachboys allowed their bodyguards to abuse and intimidate
Brian Wilson and his brother, Dennis Wilson.

31. Readers of said defamatory statements reasonably
understood said statements to have personal reference and
application to members of The Beachboys, including Carl.

32. At the time defendant made said statements, it knew
that said statements would expose The Beachboys and its members
to contempt, ridicule and obloquy, and would have a tendency to
injure them in their business.

33. Plaintiff Carl Wilson is informed and believes and
thereupon alleges that defendant published the defamatory
statements alleged hereinabove with actual malice (also known as
constitutional malice), in that said statements were published
with knowledge that they were false or with reckless disregard
for their truth or falsity. Said plaintiff further alleges that
defendant knew that they had no reasonable basis in fact to
publish said statements and that it had no reliable and unbiased
information with which to support said statements, in part, for
the reasons set forth in paragraph 8, above. Said plaintiff
further alleges that defendant failed to properly determine the

truth or falsity of said statements prior to publication.

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34. Plaintiff Carl Wilson is informed and believes and
thereupon alleges that defendant was negligent in publishing the
defamatory statements alleged hereinabove, in that said
statements were published without the exercise of ordinary and
reasonable care as to the truth or falsity of the statements.

35. Defendant caused the Book to be distributed throughout
the United States. The Book was widely sold in the State of New
Mexico. Accordingly, said defamatory statements were seen and
read by persons who reside in the State of New Mexico. Defendant
knew, or should have known, that said defamatory statements would
be read by individuals who reside in said state and elsewhere.

36. As a direct and proximate result of said defamatory
statements, The Beachboys' reputation has been injured and the
good will associated with The Beachboys' name has been
diminished. As a member of The Beachboys, Carl has suffered
actual injury to his reputation and standing in the community,
and further, has suffered shame, mortification, personal
humiliation, mental anguish and suffering, and emotional
distress, all to his general damage in the amount of Five Million
Dollars ($5,000,000).

37. As a further direct and proximate result of said
defamatory statements, the business of The Beachboys has been
damaged, including but not limited to business resulting from

record sales, merchandising and concert tours. As a member of

| The Beachboys, Carl has suffered special damages in that he has

suffered pecuniary losses by virtue of the diminution of such
business, including loss of business profits and loss of salary.

The precise amount of special damages suffered by Carl cannot be

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ascertained with certainty at this time, but is in excess of
Fifty Thousand Dollars ($50,000). Carl will seek leave to amend
this Complaint to allege that amount once it has been
ascertained.

38. Defendant's conduct was intentional and was done
maliciously, with ill will towards The Beachboys and in conscious
disregard for its rights. As a result, Carl is entitled to
punitive damages in an amount to be proven at trial.

WHEREFORE, plaintiffs pray for judgment as follows:

ON THE FIRST CLAIM FOR RELIEF

1. For general damages in the amount of Five Million
| Dollars ($5,000,000); and

2. For punitive damages in an amount to be proven at
trial.

ON THE SECOND CLAIM FOR RELIEF

1. For general damages in the amount of Five Million
Dollars ($5,000,000);

2. For special damages in excess of Fifty Thousand Dollars
($50,000); and

3. For punitive damages in an amount to be proven at
trial.

ON THE THIRD CLAIM FOR RELIEF
1. For general damages in the amount of Five Million

|
Dollars ($5,000,000);

2. For special damages in excess of Fifty Thousand Dollars

96 || ($50,000); and

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PLAINTIFFS HEREBY DEMAND A JURY TRIAL

Pursuant to Federal Rule of Civil Procedure 38(b),

plaintiffs hereby demand a trial by jury in this action.

DATED: October 7, 1994 LANGBERG, LESLIE & GABRIEL
JODY R. LESLIE, ESQ.
BETH F. DUMAS, ESQ.
2049 Century Park East, Suite 3030
Los Angeles, California 90067
(310) 286-7700

By: =>
BETH F. DUMAS
Attorneys for Plaintiffs
CARL WILSON and AUDREE WILSON

DATED: October fv 1994 ROMERO LAW FIRM

3602 Campus N.E.

Albuquerque, New Mexico 87106
(515) 262-2131

   
 

 

 

ERNESTO J. ROMERO
Attorneys for Plaintiffs
CARL WILSON and AUDREE WILSON

 

 

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CERTIFICATE OF SERVICE

 

I certify that a true copy of the foregoing pleading was hand-
delivered to opposing counsel of record, local counsel, William Ss.
Dixon, Esq., Rodey, Sloan, Akin, Dickason & Robb P.A., P.O. Box
1888, Albuquerque, bad 87103-1888 and sent by fascimilie

transmission to Bf ae , Esq., Weil, Gotchal & Manges, 767
Fifth Avenue, Ne York ia ante (212) 310-8007 this 10th day

    

 

Ernesto J. Romero J.D.

 
